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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ADAM DOBSON,                               :   CIVIL ACTION NO. 1:16-CV-1958
                                           :
                   Plaintiff               :   (Chief Judge Conner)
                                           :
             v.                            :
                                           :
THE MILTON HERSEY                          :
SCHOOL, et al.,                            :
                                           :
                   Defendants              :

                                      ORDER

      AND NOW, this 26th day of September, 2017, upon consideration of

defendants’ motion (Doc. 44) for leave to file documents under seal, it is hereby

ORDERED that said motion is GRANTED. Defendants’ motion for protective order

and any response thereto shall be filed under SEAL.



                                       /S/ CHRISTOPHER C. CONNER
                                       Christopher C. Conner, Chief Judge
                                       United States District Court
                                       Middle District of Pennsylvania
